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                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT


    In re:                                            Chapter 11

    HO WAN KWOK,                                      Case No: 3:22-cv-1019 (KAD)

                           Debtor.



         STIPULATION AND ORDER FOR VOLUNTARY DISMISSAL OF APPEAL

             Pursuant to Fed. R. Bankr. Pro. 8023(a), Ho Wan Kwon, the Debtor and Appellant

(“Appellant”), and Luc A. Despins, in his capacity as Chapter 11 Trustee of the Appellant’s

Bankruptcy Estate (the “Trustee” and collectively with Appellant the “Appeal Parties”), by and

through their respective undersigned counsel, hereby stipulate and agree as follows:

             WHEREAS, This appeal was commenced by the Appellant via the filing of a Notice of

Appeal on August 9, 2022, which was superseded by an Amended Notice of Appeal dated August

10, 2022 ; and

             WHEREAS, The Amended Notice of Appeal was filed to identify additional parties to the

appeal, but the only parties that have participated in the appeal are the Appeal Parties; 1 and

             WHEREAS, The appeal is fully briefed; and

             WHEREAS, On April 14, 2023, this Court entered an order scheduling a telephonic status

conference (the “Status Conference Order”) for April 21, 2023, to discuss whether, as a result of

certain intervening circumstances, this appeal had been rendered moot. The Court further advised




1
  On January 16, 2023, the United States Trustee filed a Notice of Non-Participation stating that
the US Trustee’s Office would not participate in the appeal unless directed to do so by the court.
See ECF 25. The Official Committee of Unsecured Creditors and creditors Pacific Alliance Asia
Opportunity Fund L.P. and Rui Ma did not file express non-participation statements but none have
participated in the appeal.
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the parties in the Status Conference Order that if they agree that the appeal may be dismissed “they

may file a joint notice on or before April 20, 2023 and the telephonic conference will be cancelled.”

       NOW, THEREFORE, the Appeal Parties agree as follows:

       1.    The appeal is and shall be dismissed and the Appeal Parties respectfully request entry

             of an order dismissing the appeal.

       2. Each Appeal Party shall bear his own costs and attorneys’ fees incurred in connection

             with the Appeal.

Dated: Bridgeport, Connecticut, April 20, 2023

THE DEBTOR AND APPELLANT,                             CHAPTER 11 TRUSTEE AND APPELLEE,
HO WAN KWOK                                           LUC A. DESPINS

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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on the 20th day of April 2023, a copy of the foregoing

Stipulation and Order for Voluntary Dismissal of Appeal was filed electronically and emailed via

the Court’s CM/ECF electronic noticing system. Parties may access this filing through the Court’s

CM/ECF System.

                                                    /s/ Eric A. Henzy (12849)
                                                    Eric A. Henzy
